                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:07CR79-W


UNITED STATES OF AMERICA,                         )
                                                  )
                v.                                )         FINAL ORDER AND JUDGMENT
                                                  )           CONFIRMING FORFEITURE
(2) SHARU BEY                                     )
                                                  )

        On March 19, 2008, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s conviction on Count Four

at a trial of this matter. As to that Count, Defendant was convicted of possession of a firearm by a

convicted felon in violation of 18 U.S.C. § 922(g)(1).

        On July 18, 2008, July 25, 2008 and August 1, 2008, the United States published in the

Mecklenburg Times, a newspaper of general circulation, notice of this forfeiture and of the intent

of the government to dispose of the forfeited property in accordance with the law, and further

notifying all third parties of their right to petition the Court within thirty days for a hearing to

adjudicate the validity of any alleged legal interest in the property. It appears from the record that

no such petitions have been filed. Based on the record including the evidence at trial, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that is

forfeitable under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as final.

All right, title, and interest in the following property, whether real, personal, or mixed, has therefore




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been forfeited to the United States for disposition according to law:

               One .45 caliber semi-automatic Glock handgun.

                                                 Signed: November 12, 2008




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